                                         IN THE
                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

  UNITED STATES OF AMERICA,                    )
                                               )
                 Plaintiff,                    )
                                               )
  v.                                           )       Criminal No. 4:18-CR-00011
                                               )
  ASHLEY TIANA ROSS,                           )
                                               )
                 Defendant.                    )

       MEMORANDUM IN OPPOSITION TO UNITED STATES’ MOTION REGARDING
                           JURY COMPOSITION

          Defendant Ashley Tiana Ross, by counsel, opposes the United States’ motion regarding

  jury composition (ECF 383), and as grounds therefore states as follows.

          The United States has filed a motion “to use a venire comprised [sic] of potential jurors

  from the Roanoke Division.” Id., at 1. Ross opposes the request because it is, simply put, a

  transparent attempt by the United States to try Ross and the other African-American defendants

  by an all-white jury.

          The United states properly notes on brief that the crimes alleged “occurred in Danville”

  and offers that the “United States believes that the citizens of Danville should have the right to

  speak on and judge the defendants through their participation on two federal juries.” Id., at 3.

  And the United States notes that the “Sixth Amendment and the Due Process Clause of the Fifth

  Amendment require that a jury be drawn ‘from a fair cross section of the community,’” Id., at 3,

  quoting Duren v. Missouri, 439 U.S. 357, 363-64 (1979; Taylor v. Louisiana, 419 U.S. 522, 527

  (1975)[Emphasis added].




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         But, Roanoke is not Danville. The elephant in the room is that all of the defendants are

  African-American, and if this case is tried before a jury drawn from the Roanoke Division, the

  overwhelming odds are that all of the jurors will be white.

         The demographics of the region bear this out. The demographics of Southwest Virginia

  Community College, for example, are reflective generally of the demographics of much of

  southwest Virginia. According to https://www.collegesimply.com/colleges/virginia/southwest-

  virginia-community-college/students (visited April 10, 2019), “students at Southwest Virginia

  Community College are almost exclusively White with a small Black population,” and the

  school has “extremely low racial diversity” [Emphasis in original]. The report lists the

  following demographics,

         Race                                                   Percent of Students
         White                                                  95%
         Black                                                  1%
         Hispanic                                               1%
         Asian                                                  0%
         American Indian / Alaskan                              1%
         Hawaiian / Pacific Islander                            0%
         Two or more races                                      1%
         International                                          0%
         Race Unknown                                           0%.


         In contrast, the demographics of Danville are quite different. According to a recent

  United States Census, approximately half of the residents of the City of Danville are African-

  American,

  Race and Hispanic Origin

  White alone                                          45.8%
  Black of African American alone                      50.8%
  American Indian and Alaska Native alone              0.4%
  Asian alone                                          1.2%
  Native Hawaiian and Other Pacific Islander alone     0.1%

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  Two or more Races                                     1.7%
  Hispanic of Latino alone                              4.4%
  White alone, not Hispanic or Latino                   42.5%.

  See, https://www.census.gov/quickfacts/fact/table/danvillecityvirginiacounty/PST045217

  (visited April 10, 2019). Admittedly, the Danville Division comprises more than the city of

  Danville, but those statistics are equally telling. According to the Virginia Department of

  Health, the demographics of the Danville region, which comprises the cities of Danville and

  Martinsville, the town of Halifax, and Henry, Patrick, Charlotte counties, are as follows,

  Danville/Pittsylvania health district
         33.8% Black
         65.0% White

  West Piedmont health district
         17.5% Black
         81.4% White

  Piedmont health district
        33.2% Black
        65.6% White

  Southside health district
         42.0% Black
         58.6% White.

  See, www.vdh.virginia.gov (visited April 10, 2019).

         Anecdotally, the undersigned has tried countless cases before juries in the western district

  of Virginia for 35 years. Typically, there may be one or two Black persons among the venire,

  and there are sometimes none. The Court may draw upon its own knowledge and experience and

  take judicial notice of the same. The United States notes on brief that this case is “technically a

  Danville Division case” (ECF 383, at 2). The designation is more than “technical” — this is a

  Danville case. This is not a case where drugs or guns were moved into or out of area or across

  state lines. Here, all of the conduct alleged occurred in Danville; the defendants are from



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  Danville; and likely most of the witnesses will be from Danville. Ross agrees therefore with the

  United States that “the citizens of Danville should have the right to speak on and judge the

  defendants through their participation on two federal juries” (ECF 383, at 3). If there are logistic

  issues or costs associated with that effort, those must be borne by the charging party, the United

  States. While acknowledging the “hardship” and “burden” referenced by the United States (ECF

  383, at 4), the Constitution more than what is requested by the United States on brief. The

  Constitution requires that this case be heard by jurors chosen from in and around Danville.

         WHEREFORE, defendant Ashley Tiana Ross, by counsel, requests entry of an order

  denying the motion.

                                                        Respectfully submitted,

                                                        ASHLEY TIANA ROSS

                                                        By     /s/Terry N. Grimes
                                                              Of Counsel

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                                   CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was electronically filed with the Clerk of the

  Court using the CM/ECF system, and that a true and accurate copy of the foregoing was sent via the

  CM/ECF system to all counsel of record, on the 10th day of April, 2019.

                                                               /s/ Terry N. Grimes
                                                                   Terry N. Grimes

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